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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

IN RE: MCCORMICK & COMPANY, INC.,
PEPPER PRODUCTS MARKETING AND SALES

PRACTICES LITIGATION MDL Docket No. 2665

THIS DOCUMENT RELATES TO: Misc. No. 15-1825 (ESH)

Watkins Incorporated v. McCormick & Company,
Inc., No. 1:15-CV-02188-ESH

 

 

DEFENDANT MCCORMICK & COMPANY, INC.’S RESPONSE TO PLAINTIFF’S
MOTION FOR LEAVE TO FILE [SECOND] AMENDED COMPLAINT AND/OR
MOTION FOR LEAVE TO FILE A SUPPLEMENTAL BRIEF

Defendant McCormick & Company, Inc. (“McCormick”) hereby responds to the Motion
of Plaintiff Watkins Incorporated (“Watkins”) for leave to file a [“Second”] Amended Complaint
(Dkt. #51). For the reasons explained below, leave should be denied, or, alternatively,
McCormick should be granted leave to file the Supplemental Memorandum attached hereto as
Exhibit 1.!

PROCEDURAL BACKGROUND

This action is currently part of a multi-district litigation, but it originally was filed on
June 9, 2015 in the District of Minnesota. In response to Watkins’s original Complaint,
McCormick filed a motion to dismiss on July 17, 2015. A hearing on McCormick’s motion was

set for September 25, 2015, but, before the hearing (as in the current circumstances), Watkins

filed an Amended Complaint on August 6, 2015. Before any further motion to dismiss was filed,

 

! As reflected in the alternative proposed Order submitted herewith, McCormick also asks that
the Court order that the parties’ briefing in relation to McCormick’s Motion to Dismiss (Dkt.
#37) remain operative and that the July 20 hearing date remain on the calendar.
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the Court stayed the litigation pending the outcome of the proceedings before the Judicial Panel
on Multi-District Litigation.

After consolidation of this action with the various consumer cases for pretrial
proceedings, this Court held a scheduling conference on January 27, 2016 and permitted Watkins
to file a further Amended Complaint, which was filed on March 2, 2016 (Dkt. #32). McCormick
filed a Motion to Dismiss that Amended Complaint on March 30, 2016 (Dkt. #37), and, on May
24, 2016, the Court entered a Scheduling Order (Dkt. #50), setting that Motion for a hearing on
July 20, 2016.

On July 1, 2016, Watkins advised McCormick that it intended to seek leave to file a
“Second Amended Complaint.” The parties met and conferred by telephone on July 5, at which
time counsel for McCormick informed counsel for Watkins that McCormick would not consent
to the Motion for Leave.

ARGUMENT

As explained above, the proposed “Second” Amended Complaint that is submitted with
Watkins’s Motion for Leave is actually its fourth attempt to plead its claims and the second time
that Watkins has responded to a motion to dismiss by seeking to amend its claims. Additionally,
the proposed new allegations refer primarily to sales of Watkins pepper during calendar year
2015, information that would have been known to Watkins in March of 2016, when it faced the
deadline imposed by this Court for amending the pleadings. Nevertheless, Watkins failed to
include the allegations in its March 2, 2016 Amended Complaint (Dkt. # 32) and failed to raise
any issue about amending at that time. Watkins further failed to raise this issue at the May 24,
2016 status conference, when the Court scheduled McCormick’s then fully-briefed motion to

dismiss for a hearing in July. Instead, Watkins waited until less than three weeks before the
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hearing and, on Friday afternoon before the Fourth of July weekend, raised this issue for the first

time.

Under all of these circumstances, McCormick submits that Watkins’s Motion for Leave
is not well taken and should be denied. In the event, however, that the Court determines to grant
Watkins leave as requested, then McCormick moves, in the alternative, that the Court permit
McCormick to file, prior to the July 20 hearing date, the short Supplemental Memorandum
attached hereto as Exhibit 1. Alternative proposed Orders are submitted herewith.

CONCLUSION
For the reasons set forth above, McCormick respectfully requests that the Court enter an

Order denying Watkins’s Motion for Leave or, alternatively, grant McCormick leave to file the

attached Supplemental Memorandum.

Respectfully submitted,

DATED: July 6, 2016 By: /s/ David H. Bamberger
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McCormick & Company, Inc.
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CERTIFICATE OF SERVICE
I hereby certify that on this 6" day of July 2016, I caused to be electronically filed the
foregoing Defendant McCormick & Company, Inc.’s Response to Plaintiff's Motion for Leave to
File [Second] Amended Complaint and/or Motion for Leave to File a Supplemental Brief with
the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

to all counsel registered through CM/ECF.

/s/ David H. Bamberger
David H. Bamberger

Attorney for Defendant
McCormick & Company, Inc.

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